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 1   Your name: -=-J=ef=fr=e.,_
                            y -=S=an=d=e-=--1________

 2   Address: 7915 Geary Blvd.
 3   San Francisco CA 94121                                                      FEB 17 2022
 4   Phone Number: -------------------
                   415-930-6261        CLEAi<, U.S. DISTRICT C URT
                                                                            NORTH DISTRICT OF CALIF RNIA
 5   Fax Number: 415-930-6261

 6   E-mail Address: jeffwaynesandel@gmail.com
 7   Pro Se [Plaintiff-JEFFREY WAYNE SANDEL]
 8                               UNITED STATES DISTRICT COURT
 9                         NORTHERN DISTRICT OF CALIFORNIA
10                                         [San Francisco]
11

12
     JEFFREY WAYNE SANDEL
     ___ ____________ )
                                                 ) C\1 22
                                                   Case Number: __________
                                 )
13   __________ )
                                 )                 Title of Document:
14             Plaintiff(s),     )
                                 )                COMPLAINT AGAINST AZTEC WELL
15        vs.                    )                SERVICING, INC. FOR BREACHES OF
                                 )                FIDICUARY DUTIES AND ISSUES
16   AZTEC WELL SERVICING, INC.  )                RELATED TO ACCOUNTING OF
                                 )                BUSINESS AND FAMILY TRUSTS
17                               )                (CHAMBERS)
                                 )
18                               )
                                 )
19   ----------- - -            -)
                                 )
20   --------------- )
                                 )
21             Defendant(s).     )
     _______________)
22
23      1. Jurisdiction. The court has Diversit Jurisdiction because the Plaintiff has lived i
24         California since 1987 and has been a le al resident of California since then. Also th
25         Defendant Aztec Well Servicin    Inc. is located in New Mexico and has o erated ther
26         as its head uarters since around 1963. Finall     the Amount in Controvers exceeds
27
     TITLE OF DOCUMENT: COMPLAINT AGAINST AZTEC WELL SERVICING INC. FOR
28   BREACHES OF FIDICUARY DUTIES AND ISSUES RELATED TO ACCOUNTING OF
     BUSINESS AND FAMILY TRUSTS                            CASE NO.: ----------i


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 1         $75 000. Aztec Well Servicin                                                         fo1
 2        several years, preceding the Great Recession of2005.
 3

 4     2. Venue. Venue is a ro riate in this court because the defendant's actions hav
 5        si nificant effects in California due to actions that have laced substantial emotiona
 6        distress to the laintiffin California   articular! in the count of San Francisco and
 7
 8        in this Count . The Plaintiff resides in San Francisco California at 7915 Gear
 9

10        California.

11
12     3. Intradistrict Assi nment. This lawsuit should be assi ned the San Francisco Divisio
13        of this court because a substantial art of the events which ive rise to this lawsui
14        occurred in San Francisco County while the plaintiffwas working and residing there.
15

16     4. Plaintiff Jeffre Wa ne Sandel is a self-em lo ed information technolo            ro ec

17        manager and business owner ofa small business.

18        Defendant Aztec Well Servicin      Inc. is a rivatel owned famil business started i

19                                                               Sandel and Daniel Wa ne Sandel.

20

21

22
23        Sandel Famil Trust which incor orates all assets of Aztec Well Servicin

24
25

26

27
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 1
             ,,
 2        state ofNew Mexico since around the seventies.

 3
 4     5. The Plaintiff Jeffre    Wa ne Sandel has been harmed b the Defendant Aztec Well
 5        Service Inc. or the re resentatives hereofb the omissions made b the defendant in no
 6

 7        contains the information of the inheritances in the laintiffs name established b the

 8        original owner Daniel Wayne Sandel,the plaintiffs legal grandfather
 9     6. The Plaintiffhas re eatedl re uested the contents ofthe Business Trust of Aztec Wel

10        Servicin     Inc. from the defendant's le al service a ent Mr. Chris Ochoa without
11        res onse from the Defendant. The Plaintiff called Mr. Ochoa directl at his office a
12        Aztec Well Service Inc. to confirm that Mr. Ochoa had received the laintiffs re uest
13        which was confirmed b Mr. Ochoa. However as oftoda absolute! no information ha

14
15        from an ofthe defendant or re resentative's hereofAztec Well Servicin . Inc. ofwhos

16        headquarters is located in Aztec,New Mexico. (EXHIBIT A)

17     7. The former General Counsel from Aztec Well Service Inc. Mr. Curtis Gurle

18        current! the Chief of District Jud es in the eleventh district of San Juan Count

19        which the Business Trust of Aztec Well Service Inc. was created formed and i

20        current! headed. Mr. Gurle has o osed the Plaintiffon several other lawsuits filed i

21        the Count ofSan Juan New Mexico includin           "No.A-1-CA-36397" Sandel

22        Sandel 463 P.3d 510                                      Sandel v. Jerr W and Nanc

23        M Sandel Revocable Trust. D-1116-CV-201500367            and has acted as a witness

24

25        adult son Sandel vs. Alden BF801204 before the laintiffs son was an adult in Lo

26        Angeles County, California.

27
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 1     8. Several lawsuits have been filed b the etitioner is San Juan Count          New Mexico
 2        versus the Jerr Sandel the President ofAztec Well Service and trustee ofthe estate fro
 3        which the Plaintiffis suin . All but one ofwhich have been sub·ect to blanket recusals b
 4

 5        Count                            of San Juan Count      which sits in the same eleventh
 6        district as San Juan. The Count of McKinle has onl three district court 'ud es who
 7        have stron 1 favored the defendant's in all liti ation that had occurred there and Distric

 8        Court Jud e Robert A. Ara on awarded both ofthe defendant's orders of rotection fo
 9        life a ainst the laintiff for hone calls left on the defendant's voice mail
10

11        now adult son. The defendants chiefre resentative       resident owner and trustee Jerr
12        Sandel and Jason Sandel executive vice resident and future co-trustee of the estate i
13         uestion
14        have the Plaintiffarrested for multi le hone call voice mails made to the defendant     01

15        behalf of the laintiffs dead mother and the Plaintiff subse uentl received five ears'

16

17        the court due to a massive amount of harassment s in          and stalk.in that was mad
18        a ainst the Plaintiff who was ordered to wear a GPS bracelet at all times b the court.
19        The GPS bracelet however was dama ed

20        consulted with the Assistant District Attorne   in the case and an attorne friend and th
21         laintiff knowin that due to the GPS bracelet failure that he would be arrested an

22        returned to San Juan Count where the Plaintiffhad suffered an as h iation attack and

23

24

25        New Mexico,with the prosecutor in the plaintiffs misdemeanor case,         Dustin

26        O' Brien Es . Chief De ut District Attorne         of whom offered the laintiff a      le

27
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 1

2         now basically defunct com panyor their res pective families at all.
 3     9. The Defendant's actions have laced substantial emotional distress on the
 4

 5

 6        included committin

 7        recordin

 8        familial activit ofwhich invasions occurred in a manner that is offensive to a reasonabl
 9         person.
10

11         CLA IMS
12         CLA IM 1 -Breach ofTrust,for failure to re port and inform.
13         NM Stat      46A-8-813 1996 throu h 1st Sess 50th Le is 46A-8-813. Dut to inform

14        and re ort.       A. A trustee shall kee    the     ualified beneficiaries of the trust

15         reasonabl       informed about the administration of the trust and of the material


16         facts necessar        for them to protect their interests.    Unless unreasonable unde ,


17         the circumstances, a trustee shall        romptl    respond to a beneficiar 's re uest


18         for information related to the administration of the trust.


19     10. B. A trustee:

20
21        trust instrument;

22     12. 2 within sixt da s after acce tin a trusteeshi

23        ofthe acce ptance and ofthe trustee's name,address and tele phone number;

24     13. 3 within sixt da s after the date the trustee ac uires knowled e ofthe creation ofan

25        irrevocable trust or the date the trustee ac uires knowled e that a formerl revocabl

26        trust has become irrevocable whether b the death ofthe settlor or otherwise shall notif

27
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 1        the ualified beneficiaries ofthe trust's existence ofthe identit ofthe settlor or settlors
 2                                      ofthe trust instrument and ofthe ri ht to a trustee's re ort as
 3         provided in Subsection C ofthis section;and
 4     14. 4 shall notif the ualified beneficiaries in advance ofan chan e in the method or rat

 5        ofthe trustee's com pensation.
 6     15. C. A trustee shall send to the distributees or ermissible distributees oftrust income o
 7         rinci al and to other ualified or non ualified beneficiaries who re uest it at leas
 8

 9        recei ts and disbursements       includin      the source and amount of the trustee'
10        com ensation a listin ofthe trust assets and iffeasible their res ective market values.
11        U on a vacanc in a trusteeshi         unless a co-trustee remains in office a re ort must b
12        sent to the   ualified beneficiaries b the former trustee. A         ersonal re resentative
13        conservator or uardian ma send the ualified beneficiaries a re ort on behalf of
14        deceased or inca pacitated trustee.
15     16. D. A beneficiar ma waive the ri ht to a trustee's re ort or other information otherwis
16        re uired to be furnished under this section. A beneficiar
17        and other information,may withdraw a waiver previouslygiven.

18     17. E. Para ra hs 2 and 3 ofSubsection B ofthis section do not a
19        acce ts a trusteeshi before Jul 1 2003 to an irrevocable trust created before Jul 1
20        2003 or to a revocable trust that becomes irrevocable before July 1,2003.
21     18. F. A knowin waiver b a settlor of the duties of the trustee to inform and re ort to

22        beneficiaries under the Uniform Trust Code 46A-1-101 NMSA 1978 is effective bu

23        onl while the trustee is a re ulated financial service institution ualified to do trus

24        business in New Mexico. The knowin waiver must be cons icuous must be contained

25        in the terms ofthe trust or ofa se arate affidavit si ned b the settlor and must state tha

26        the settlor has been informed of the risks and conse uences of the waiver and that th

27
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1          settlor nevertheless directs that the reports and information be withheld bv the trustee. As

2          used in this subsection. "conspicuous" means conspicuous as defined in Section 55-1-201

 3         NMSA 1978. The knowing waiver mav direct that the reports and information be

 4         withheld:

 5     19. (1) in whole or in part;

 6     20. (2) from one or more beneficiaries or classes ofbeneficiaries, qualified or otherwise;

 7     21. (3)in all events;
 8     22. (4)until the occurrence ofa date,event or contingency;

 9     23. (5)in the sole and absolute discretion ofthe trustee or another person or both;or

10     24. (6) subiect to more than one of the restrictions in Paragraphs (l) through (5) of this
11         subsection.
12

13   CLAIM 2 -Breach of Trust for breachingfiduciaryduty.
14         NM Stat§46A-10-1002 (2019)2020 New Mexico Statutes

15         Chapter 46A - Uniform Trust Code

16         Article 10 - Liability ofTrustees and Rights ofPersons Dealing with Trustees

17         Section 46A-10-1002 - Damages for breach oftrust.

18         A. A trustee who commits a breach oftrust is liable to the beneficiaries affected for the

19      greater of:
20          (1) the amount reauired to restore the value ofthe trust orooertv and trust distributions to

21     what they would have been had the breach not occurred;or

22         (2)the profit the trustee made by reason ofthe breach.

23          B. Except as otherwise provided in this subsection if more than one trustee is liable to

24     the beneficiaries for a breach of trust a trustee is entitled to contribution from the other

25     trustee or trustees. A trustee is not entitled to contribution if the trustee was substantiallv

26     more at fault than another trustee or ifthe trustee committed the breach oftrust in bad faith   01


27
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 1     with reckless indifference to the ur oses of the trust or the interests ofthe beneficiaries. A
 2     trustee who received a benefit from the breach of trust is not entitled to contribution fro

 3     another trustee to the extent ofthe benefit received.

 4         Hist ory: Laws 2003,ch. 122,§10-1002;2007,ch. 128,§26.
 5         ANNOTATIONS
 6        The 2007 amendment effective Jul           1 2007 added Subsection A and amended
 7     Subsection B to add the exce ption.
 8

 9     there is a breach of trust. - When there is a breach oftrust the loss to the beneficiarie
10     and the rofit b the trustee are distinct harms that traditionall   ive rise to different t es o
11     dama es: restoration and dis or ement. Each has its own remedial      UI   ose and both ma b
12                                                                          the trust and removin al
13      rofit from the trustee's self-dealin . The measure of dis or ement is the amount o

14     defendant's ain and a beneficiar need not suffer an loss at all to be entitled to the remed .

15     Dis or ement is not intended to com ensate beneficiaries but to revent un·ust enrichment o

16     the trustee and to deter that trustee and others from similar conduct. Dama es for un·us
17

18                                                while the measure of restitution is the defendant'

19      ain or benefit. Miller v. Bank of America 2015-NMSC-022 rev' 2014-NMCA-053 32

20     P.3d 20.
21         Where trustee bank in a breach of its dut           of care invested trust assets in a

22     un roductive commercial buildin in direct violation of ex ress trust rovisions whic

23     caused an $894 000 loss in the value ofthe trust arran ed loans to the trust from the bank'
24     own affiliates that were secured b m011 a es on the buildin        and collected loan fees an

25     mort a e interest from the trust in breach ofits dut oflo alt      and where the district cou

26     awarded $171 000 in dama es without discussin the actual method of calculation for th

27
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 1      restoration award the court of a     eals reversed the district court and awarded
 2      $894 000 to restore the value ofthe trust but did not award dis or ement dama es

 3      that an award ofrestoration dama es and dis or ement dama es would amount to a doubl
 4      recover . The New Mexico su reme court reversed the court of a eals holdin that bot
 5      restoration and dis or ement dama es were re uired under the New Mexico Uniform Trus

 6      Code and remanded the case back to the district court for a recalculation ofdama es becaus
 7
 8      trustee were included in the calculation ofthe restoration award. Miller v. Bank ofAmerica
 9      2015-NMSC-022, rev'g2014-NMCA-053,326 P.3d 20.

10         Breach of du     . - Where decedent created testamentar trusts for eneration ofincom
11      for beneficiar    distribution and   reservation of the value of the
12      distribution to   laintiffs u on the death of the decedent's s ouse· the will
13

14      buildin as an asset of the trusts· b 1995 defendant became aware that the buildin wa
15      un roductive of net income and a drain on the income and other assets of the trusts·
16      defendant continued to invest in the buildin des ite its status as a wastin asset and obtained
17       laintiffs' consent to obtain a loan to renovate the buildin and to sell trust assets to reduc

18      the loan balance· at the end of1991 the net value ofthe trusts was $669 996· at the end o

19

20

21

22

23

24      Miller v. Bank ofAmerica,N.A.,2014-NMCA-053,cert. granted,2014-NMCERT-005.

25          Inflati ona                                                      ment interest. - Wher

26      defendant mismana ed trust assets and breached its fiduciar dut

27
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 1
 2     of the trust assets declined from $669 996 at the end of 1991 to a net value that wa

 3     effective! zero at the end of2003· the district court awarded laintiffs restoration dama e

 4     of $894 000 based on a standard ad·ustment for inflation from 1991 to June 1 2004 whe

 5

 6     the inflation ad'ustment did not constitute a double recover and overla the recover o
 7      re'ud ment interest because the inflation ad'ustment was re uired to kee       laintiffs whol
 8     and to calculate the amount needed to restore the real value ofthe trust for the eriod 1991 to

 9

10     their trust shares from June 1 2004 until ·ud ment was entered. Miller v. Bank ofAmerica
11     N.A.,2014-NMCA-053,cert. granted,2014-NMCERT-005.
12          Offset of dama es for inc ome distri buti ons. - Where defendant retained a commercial
13

14
15     defendant's term as trustee the return on trust assets was ne ative and the net value oftrus

16

17

18      ro er measure of dama es for defendant's breach of its fiduciar duties was the amoun

19     re uired to restore the value ofthe trust estate and all ofits income distributions to what the

20
21

22     no evidence that the income distributions exceeded the amount that would have been actuall

23     received b
24             al in assets that roduced a reasonable rate of return while continuin

25             al. Miller v. Bank of America N.A. 2014-NMCA-053 cert.                   ranted 2014-

26     NMCERT-005.

27
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 1

 2      CLA IM 3 -Breach of trust for breachin
 3         NM Stat 46A-8-802 2018
 4         46A-8-802. Duty of l oyalty.
 5         A. A trustee shall administer the trust solely in the interests ofthe beneficiaries.
 6

 7     Section 46A-10-1012 NMSA 1978 a sale encumbrance or other transaction involvin th

 8
 9      ersonal account or that is otherwise affected b a conflict between the trustee's fiduciar and

10     personal interests is voidable by a beneficiary affected by the transaction unless:
11         (1)the transaction was authorized by the terms ofthe trust;
12         (2)the transaction was a p proved by the court;
13         3 the beneficiar did not commence a ·udicial
14     Section 46A-10-1005 NMSA 1978;

15         4 the beneficiar consented to the trustee's conduct ratified the transaction or released

16     the trustee in com pliance with Section 46A-10-1009 NMSA 1978;or

17         5 the transaction involved a contract entered into or claim ac uired b the trustee befor

18     the person became or contem plated becoming trustee.

19         C. A sale encumbrance or other transaction involvin

20                     is   resumed to be affected b         a conflict between   ersonal and fiduciar

21     interests ifit is entered into by the trustee with:

22         (1) the trustee's s pouse;

23         (2)the trustee's descendants,siblings, parents or the s pouse ofany ofthem;

24         (3)an agent or attorney ofthe trustee;or

25

26

27
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28   BREACHES OF FIDICUARY DUTIES AND ISSUES RELATED TO ACCOUNTING OF
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 1          4 a co oration or other erson or enter rise in which the trustee or a erson that owns
 2     a si nificant interest in the trustee has an interest that mi ht affect the trustee's bes
 3      jud gment.
 4          D. A transaction between a trustee and a beneficiar that does not concern trust
 5     but that occurs durin        the existence of the trust or while the tr ustee retains si
 6     influence over the beneficiar and from which the trustee obtains an advanta e is voidable b
 7     the beneficiary unless the trustee establishes that the transaction was fair to the beneficiary.
 8

 9     individual ca acit        involves a conflict between     ersonal and fiduciar
10     transaction concerns an o pportunity pro perly belonging to the trust.
11          F. An investment b a trustee in securities ofan investment com an or investment trus
12     to which the trustee or its affiliate rovides services in a ca acit other than as trustee is no
13      resumed to be affected b          a conflict between     ersonal and fiduciar
14     investment otherwise com lies with the Uniform Prudent Investor Act 45-7-601 NMS
15     1978 . In addition to its com ensation for actin as trustee the trustee ma be com ensated
16

17

18

19     annuall shall notif the ersons entitled under Section 46A-8-813 NMSA 1978 to receive
20     co    of the trustee s' annual re ort of the rate and method b which the com ensation wa
21     determined.
22          G. In votin shares of stock or in exercisin        owers of control over similar interests i

23     other forms ofenter rise the trustee shall act in the best interests ofthe beneficiaries. Ifth

24     trust is the sole owner ofa co oration or other form ofenter rise the trustee shall elect o

25     a oint directors or other mana ers who will mana

26     interests ofthe beneficiaries.

27
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28   BREACHES OF FIDICUARY DUTIES AND ISSUES RELATED TO ACCOUNTING OF
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 1          H. This section does not preclude the following transactions,if fair to the beneficiaries:
 2          1 an a reement between a trustee and a beneficiar
 3     com pensation ofthe trustee;
 4         (2) payment ofreasona ble com pensation to the trustee;
 5          3 a transaction between a trust and another trust decedent's estate or conservatorshi o

 6     which the trustee is a fiduciary or in which a beneficiary has an interest;
 7          4 a de osit of trust mone in a re ulated financial-service institution o

 8     trustee;or
 9         (5)an advance bythe trustee ofmoneyfor the protection ofthe trust.
10
11      pro posed transaction that mi ght violate this section ifentered into bythe trustee.
12          History : Laws 2003,ch. 122,§8-802;2007,ch. 128,§21.
13          ANNOTATIONS
14         The 2007 amendment effective Jul 1 2007 adds Para ra h 3 ofSubsection B and
15     re uires the trustee to notif the ersons entitled to receive the trustee's annual re

16     trustee receives com ensation for                  investment or advisor       services from a r
17     investment com pany or investment trust in which the trustee has invested trust funds.

18         Breach of the du
19

20

21     would not have been earned had the transaction never occurred· the beneficiar is entitled to

22     this rofit even if the transaction did not cause an loss to the trust. Miller v. Bank o

23     America ,2015-NMSC -022, rev'g 2014-NMCA-053,326 P.3d 20.

24          Where trustee bank in a breach of its dut            of care invested trust assets m a
25     un roductive commercial buildin in direct violation of ex ress trust rovisions whic

26     caused an $894 000 loss in the value ofthe trust arran ed loans to the trust from the bank '

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 1

 2     mort a e interest from the trust in breach ofits dut oflo alt   and where the district cou
 3     awarded $171 000 in <lama es without discussin the actual method of calculation for th

 4      restoration award the court of a eals reversed the district court and awarded

 5      $894 000 to restore the value ofthe trust but did not award dis or ement <lama es

 6     that an award ofrestoration <lama es and dis or ement <lama es would amount to a doubl

 7      recover . The New Mexico su reme court reversed the court of a eals holdin that bot

 8     restoration and dis or ement <lama es were re uired under the New Mexico Uniform Trus
 9

10

11      trustee were included in the calculation of the restoration award. Miller v. Bank o
12      America ,2015-NMSC-022 , rev'g2014-NMCA-053 ,326 P.3d 20.

13

14   Claim 3 ·_Breach of trust for breachingim partiality.
15         2013 New Mexico Statutes

16         Cha pter 46A - Uniform Trust Code

17         Article 8 - Duties and Powers ofTrustee

18         Section 46A-8-803 -Im partiality. (2003 )
19         46A-8-803. Im partiality. (2003)

20         If a trust has two or more beneficiaries the trustee shall act im artiall in investin

21      mana m and distributin      the trust                                        beneficiaries

22      res pective interests. History: Laws 2003,ch. 122 ,§8-803.

23

24          REQUEST FO R RELI EF

25
26

27
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 1     1. Com el the defendan ts to rovide the Plain ti ffwi th a cer tified co      of the Business Trus
 2
 3           the original co py for the Plain ti ff.
 4     2. Com el the defendan ts to rovide the Plain ti ffwi th a cer tified co       of the Sandel Famil
 5           Trus t and ifnecessary provide access to the viewing of the original co py for the Plain ti ff.
 6     3 . Com el the defendan ts to
 7           the plain ti ff.

 8      4.
 9           defines as terrorism to the
10           DO LLA RS.
11     5. Remove the defendants as trus tees as provided in Sec tion 46A -7-706 NMSA 1978.

12      6.
13           trus t.

14      7. As all s ecified in NM S ta t 46A-10-1001 2017 . 2017             Ne w      Me xic o    St atute
15           Cha ter                 46A                       Uniform              Trus t             Cod
16           Ar tic le 10 - Liabili t of Trus tees and Ri h ts of Persons Dealin             wi th Trus tee
17           Sec tion 46A-10-1001 - Breach of trus t.

18
        46A-1 0-1 001 . Breach of trust.
19
        A. A violation by a trustee of a d uty the trustee owes to a beneficiary is a breach of
20
        trust.
21
        B. To remedy a breach of trust that has occu rred or may occur, the cou rt may:
22
        ( 1 ) compel the trustee to perform the trustee's d uties;
23
24      (2) enjoin the trustee from comm ittin g a breach of trust;

25      (3) compel the trustee to redress a breach of trust by paying money, restoring
        property or other means;
26
        (4) order a trustee to account;
27
     TITLE OF DO CUMENT: COMPLAINT AGAINST AZTE C WELL SERVI CING IN C. FOR
28   BREA CHES OF FIDI CUARY DUTIES AND ISSUES RELATED TO A CCOUNTING OF
     BUSINESS AND FAMILYTRUSTS                                 CASE NO.: __


     PAGE    No.t5. OF          17     [JD C TEMPLATE]
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 1      (5) appoint a special fiduciary to take possession of the trust property and ad m i n ister
        the trust;
 2
        (6) suspend the trustee;
 3
 4      (7) remove the trustee as provided in Section 46A-7-706 NMSA 1 978;

 5      (8) red uce or deny compensation to the trustee ;
 6      (9) subject to Section 46A- 1 0-1 0 1 2 NMSA 1 978, void an act of the trustee, impose a
 7      lien or a constructive trust on trust property or trace trust property wrongfully
        disposed of and recover the p roperty or its proceeds ; or
 8
        ( 1 0) order any other appropriate relief.
 9
     H istory: Laws 2003, ch . 1 22 , 1 0-1 00 1 ; 2007, ch . 1 28 , 25.
10

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13
            D EM AN D FO R JURY TRI A L
14
        1. The Plaintiffin this case res oectfullv re quests from this court a iurv trial in this case an d
15
            in doing so exercising olaintiffs right for a iurvtria l.
16

17
            E XHI BITS
18
            Exhibit One - (See Attached Document -Letter to Mr Ochoa )
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     TITLE OF DOCUMENT: COMPLAINT AGAINST AZTEC WELL SERVICING INC. FOR
28   BR EACHES OF FIDICUARY DUTIES AND ISSUES RELATED TO ACCOUNTING OF
     BUSINESS AND FAMILY TRUSTS                             CASE NO.:


     PAGE NO. llo OF        17       [JDC TEMPLATE]
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 9   Date:   02 /08/2022

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     TITLE OF DO CUMENT: COMPLAINT AGAINST AZTE C WELL SERVI CING IN C. FOR
28   BREA CHES OF FIDI CUARY DUTIES AND ISSUES RELATED TO A CCOUNTING OF
     BUSINESS AND FAMILYTRUSTS                                 CASE NO.: ___,


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